Case 1:21-cr-00254-RCL Document 40-1 Filed 11/15/21 Page 1 of 11




           Attachment A
Case 1:21-cr-00254-RCL Document 40-1 Filed 11/15/21 Page 2 of 11
Case 1:21-cr-00254-RCL Document 40-1 Filed 11/15/21 Page 3 of 11
Case 1:21-cr-00254-RCL Document 40-1 Filed 11/15/21 Page 4 of 11
Case 1:21-cr-00254-RCL Document 40-1 Filed 11/15/21 Page 5 of 11
Case 1:21-cr-00254-RCL Document 40-1 Filed 11/15/21 Page 6 of 11
Case 1:21-cr-00254-RCL Document 40-1 Filed 11/15/21 Page 7 of 11
Case 1:21-cr-00254-RCL Document 40-1 Filed 11/15/21 Page 8 of 11
Case 1:21-cr-00254-RCL Document 40-1 Filed 11/15/21 Page 9 of 11
Case 1:21-cr-00254-RCL Document 40-1 Filed 11/15/21 Page 10 of 11
Case 1:21-cr-00254-RCL Document 40-1 Filed 11/15/21 Page 11 of 11
